701 F.2d 221
    31 Fair Empl.Prac.Cas.  1520, 226 U.S.App.D.C. 210
    Easonv.National Highway Traffic Safety Admin.
    81-1761
    UNITED STATES COURT OF APPEALS DISTRICT OF COLUMBIA CIRCUIT
    1/6/83
    D.C.D.C., 512 F.Supp. 1199
    
      1
      AFFIRMED*
    
    
      
        *
         The judgment or order is accompanied by a Memorandum explanatory of the judgment.  Such memorandum is not included with the opinions of the Court that are printed, and it may not be cited in briefs or memoranda of counsel as precedents, under local rule
      
    
    